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October 10, 2024

Mark Langer, Clerk of the Court
U.S. Court of Appeals for the District of Columbia Circuit
E. Barrett Prettyman U.S. Courthouse
333 Constitution Ave. NW
Room 5205
Washington, D.C. 20001

      Re:    Notice of Supplemental Authority in Rose v. Becerra, No. 24-5172

Dear Mr. Langer:

       Pursuant to Federal Rule of Appellate Procedure 28(j), Intervenor-Appellant
Indiana Family and Social Services Administration (FSSA) submits this letter to
notify the Court of a recent ruling by the district court in this case.

       As noted in FSSA’s response to the motion to dismiss, FSSA had asked the
district court to stay the remand to the agency. FSSA Resp. 24 n.1. On October 7,
2024, the district court declined to stay the remand, but the court modified its partial
stay of its order vacating the Secretary’s 2020 approval so that the stay’s “terms shall
continue during remand to the agency.” Minute Order of Oct. 7, 2024. Although this
modification may mitigate some impacts of the district court order vacating the
Secretary’s 2020 approval, it does not restore to FSSA the full authority it had under
the approval. See FSSA’s Resp. 14–15. Nor does this recent ruling alter the reality
that FSSA cannot later obtain meaningful judicial review of the order vacating the
Secretary’s 2020 approval. See id. at 14–22.

                                                 Respectfully submitted,


                                                 /s/ James A. Barta
                                                 James A. Barta
                                                 Solicitor General




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                       CERTIFICATE OF COMPLIANCE

      I certify that this letter complies with Rule 28(j) because the body of the letter

contains 174 words.


                                                 /s/ James A. Barta
                                                 James A. Barta




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